                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,



          v.                                                   Case No. 18-CR-232

CATALINA TABOADA,

                                 Defendant.



                                        PLEA AGREEMENT



         1.        The United States of America, by its attorneys, Matthew D. Krueger, United

States Attorney for the Eastern District of Wisconsin, and Keith S. Alexander, Assistant United

States Attorney, and the defendant, Catalina Taboada, individually and by attorney Daniel W.

Stiller, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, enter into the following

plea agreement:

                                              CHARGE

         2.       The defendant has been charged in a one-count infoimation, which alleges a

violation of Title 26, United States Code, Section 7206(2).

         3.       The defendant has read and fully understands the charge contained in the

information. She fully understands the nature and elements of the crime with which she has been

charged, and the charge and the terms and conditions of the plea agreement have been fully

explained to her by her attorney.

         4.       The defendant voluntarily agrees to waive prosecution by indictment in open

court.


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       5.          The defendant voluntarily agrees to plead guilty to the following count set forth in

full as follows:

               THE UNITED STATES ATTORNEY CHARGES

             On or about February 6, 2014, in the State and Eastern District of
       Wisconsin,

                                       CATALINA TABOADA,

       did willfully aid and assist in, and procure, counsel, and advise the preparation
       and presentation to the Internal Revenue Service a U.S. Individual Income Tax
       Return, Form 1040, on behalf of S.F., which the defendant knew was false and
       fraudulent as to a material matter.

               In violation of Title 26, United States Code, Section 7206(2).

      6.       The defendant acknowledges, understands, and agrees that she is, in fact, guilty of

the offense described in paragraph 5. The parties acknowledge and understand that if this case

were to proceed to trial, the government would be able to prove the following facts beyond a

reasonable doubt. The defendant admits that these facts are true and correct and establish her

guilt beyond a reasonable doubt:

       In 2009, Catalina Taboada started her own tax preparation business in Green Bay,
       Wisconsin, called Taboada & Associates. After opening her own business, she
       started to prepare false tax returns on behalf of her clients in several different
       ways.

       I.      Filing false CTC and ACTC claims

       The primary way that she falsified returns was to fraudulently claim the Child Tax
       Credit ("CTC") and the Additional Child Tax Credit ("ACTC"). Taxpayers
       qualify for these credits if they have minors under the age of 17 living with them
       in the United States for at least half of the year. However, agents learned from
       interviewing many of Taboada's clients that she regularly encouraged them to
       claim children who are relatives of theirs living in Mexico the entire year to
       obtain the credit.

       An example of this is how Taboada handled S.F. 's tax return, which is the subject
       of Count One of the Information. Taboada prepared a tax return for S.F. on
       February 6, 2014. The return claimed that S.F. was married to L.M., and also

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claimed seven children as their dependents. The seven dependents allowed S.F.
to claim $6,782.00 in an additional child tax credit.

When an IRS special agent interviewed S.F. in January 2016, S.F. told him that
she was not married to L.M., and that she only had one son. The other six
children reported on her tax return were relatives of hers. Five of the children,
according to S.F., lived in Mexico and never were in the United States. One of
the children lived in Virginia for a couple years, but never lived with her.

S.F. recalled telling Taboada about the children who lived in Mexico. She also
remembered that Taboada had an employee prepare the tax return, and then later
Taboada reviewed it before it was submitted.

By falsely submitting five of the children who always lived in Mexico as
individuals who qualified for the ACTC, Taboada caused a loss of at least $4,873
by preparing and submitting S.F.'s tax return.

An undercover operation further corroborated what S.F. told agents. On February
25, 2014, one undercover agent went to Taboada to have a tax return prepared,
and recorded his conversation with her. Taboada advised him that he owed
$157.00. She then asked the undercover agent whether he had siblings or cousins
in Mexico. She explained that she just needed names of kids that "have your last
name. . . because you have the potential of earning $2,000." She further
explained: "There are two truths. The written one is the kids that are here, they
get a thousand dollars. But the practical truth is that it doesn't matter if they are
here or they are there, they get the money anyway." She continued in the
conversation, "It's your decision. I can do it for you but you will have to do an
amendment or you can wait to get the birth certificates of the kids and the medical
and school [records] . . . and with all that you can request and get the money."

On March 18, 2014, the undercover agent went back to Taboada's business with
original Mexican birth certificates and school records of unrelated children
currently living in Mexico. The agent met with two of Taboada's employees,
who entered the information into the tax return, and listed the two unrelated
children as a dependent niece and dependent nephew. The tax return claimed an
additional child tax credit of $2,000. The refund amount claimed the federal tax
return was $2,771.

       Falsely claiming a person as a dependent

In addition to earning a child tax credit, individuals who make enough money
may also earn a dependent exemption of nearly $4,000 per child. In order to
qualify for this exemption, at the very least, the dependent has to be a resident of
the United States, Canada or Mexico. Taboada nevertheless prepared tax returns
claiming people as dependents who she knew did not live in any of those three
countries.

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For instance, for tax years 2012 to 2014, Taboada prepared tax returns for D.L
and G.L. In 2012, they claimed five dependents. In 2013 and 2014, they claimed
three dependents. In January 2016, an IRS special agent interviewed G.L., who
said that other than her daughter, the others that they claimed as dependents were
their nieces who lived in Honduras. She said that they sent money to their nieces
in Honduras to help them with their expenses. She also said that while Taboada's
employees always prepared the returns, Taboada reviewed them before she filed
them. She also recalled telling Taboada that her nieces lived in Honduras.

By falsely claiming that G.L's nieces both as dependents and children for child
tax credits, Taboada caused a loss of $9,791.00 during tax years 2012 through
2014 on their returns.

III.    Falsely Claiming the Earned Income Tax Credit ("EIC")

The earned income tax credit ("EIC") is a refundable tax credit for low- to
moderate-income working individuals and couples, particularly those with
children. It essentially allows individuals and couples to claim a credit in addition
to the CTC and ACTC for qualifying children if their income is below a certain
amount.

In order for a child to qualify for the EIC, the child must live in the United States
for half of the year with the taxpayer, and the child has to be a son, daughter,
grandchild, brother, sister, niece or nephew. Cousins do not qualify for the EIC.
Taboada nevertheless claimed cousins, and other unqualified children, for the
EIC.

For example, P.R. claimed a number of children as her nieces and nephews who
were either cousins, or other distant relatives who did not qualify as a child for
EIC purposes. When an IRS special agent interviewed P.R. in January 2016, she
said that she communicated that to Taboada, but Taboada nevertheless prepared
and filed returns claiming those children as her nieces and nephews. The false
submissions on P.R. 's tax returns for tax years 2012 through 2014 caused the IRS
to issue the ACTC and the EIC to P.R., causing a tax loss of $18,474.

W.     Transportation Expenses

Taboada also falsified tax returns for her clients by fraudulently claiming
transportation expenses as a deduction. A travel expense can be deducted as a
business expense, but not for regular travel from a person's home to a regular
place of business. Taboada, on a number of occasions, claimed a deduction for her
clients when it was just regular travel from their home to their job.

V.     Taboada's Admissions to IRS Agents

On August 19, 2015, IRS agents interviewed Taboada at her home. During the
interview, Taboada accurately explained the rules for qualifying for the ACTC,
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        the CTC, and the ETC. She also understood the dependent exemption rules as
        well.

        Nevertheless, she admitted to "trying to help" her clients by reporting children on
        their returns for these credits and exemptions when she knew that they did not
        qualify. She admitted claiming the ACTC and CTC for children who she knew
        lived in Mexico. She also admitted to oftentimes identifying these children as
        nieces and nephews, even when she knew they were not actually the filer's nieces
        and nephews. When asked why she falsified people's tax returns, she said that
        she did so to "stimulate the economy."

        In total, Taboada admits to causing a loss of $571,800 by willfully and knowingly
        filing false tax returns on behalf of her clients.

        This information is provided for the purpose of setting forth a factual basis for the plea of

guilty. It is not a full recitation of the defendant's knowledge of, or participation in, this offense.

                                            PENALTIES

       7.       The parties understand and agree that the offense to which the defendant will

enter a plea of guilty carries the following maximum penalties: three years of imprisonment,

$250,000 fine, one year of supervised release, and a mandatory $100 special assessment. The

parties' acknowledgments, understandings, and agreements with regard to restitution are set forth

in paragraph 27 of this agreement.

      8.        The defendant acknowledges, understands, and agrees that she has discussed the

relevant statutes as well as the applicable sentencing guidelines with her attorney.

                                            ELEMENTS

      9.       The parties understand and agree that in order to sustain the charge of preparing

and presenting a false tax return, as set forth in Count One, the government must prove each of

the following propositions beyond a reasonable doubt:

       First, that the defendant aided or assisted in the preparation or presentation of an
       income tax return that was false as to a material matter. There must be some
       affirmative participation which at least encourages the perpetrator. The return must
       be filed with the Internal Revenue Service; and

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        Second, that the defendant knew that the income tax return was false, that is, that
        the income tax return was untrue when it was made; and

        Third, that the defendant acted willfully, that is with the intent to violate the law.

                                  SENTENCING PROVISIONS

      10.      The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the

presentence report, including that the presentence report be disclosed not less than 35 days

before the sentencing hearing, in favor of a schedule for disclosure, and the filing of any

objections, to be established by the court at the change of plea hearing.

      11.      The parties acknowledge, understand, and agree that any sentence imposed by the

court will be pursuant to the Sentencing Reform Act, and that the court will give due regard to

the Sentencing Guidelines when sentencing the defendant.

      12.      The parties acknowledge and agree that they have discussed all of the sentencing

guidelines provisions which they believe to be applicable to the offense set forth in paragraph 5.

The defendant acknowledges and agrees that her attorney in turn has discussed the applicable

sentencing guidelines provisions with her to the defendant's satisfaction.

      13.      The parties acknowledge and understand that prior to sentencing the United States

Probation Office will conduct its own investigation of the defendant's criminal history. The

parties further acknowledge and understand that, at the time the defendant enters a guilty plea,

the parties may not have full and complete information regarding the defendant's criminal

history. The parties acknowledge, understand, and agree that the defendant may not move to

withdraw the guilty plea solely as a result of the sentencing court's determination of the

defendant's criminal history.




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                               Sentencing Guidelines Calculations

      14.      The defendant acknowledges and understands that the sentencing guidelines

recommendations contained in this agreement do not create any right to be sentenced within any

particular sentence range, and that the court may impose a reasonable sentence above or below

the guideline range. The parties further understand and agree that if the defendant has provided

false, incomplete, or inaccurate information that affects the calculations, the government is not

bound to make the recommendations contained in this agreement.

                                          Relevant Conduct

      15.      The parties acknowledge, understand, and agree that pursuant to Sentencing

Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating

the sentencing guidelines range, even if the relevant conduct is not the subject of the offense to

which the defendant is pleading guilty.

                                        Base Offense Level

      16.      The parties agree to recommend to the sentencing court that the applicable base

offense level for the offense charged in Count One is 20 under Sentencing Guidelines Manual §

2TK4.1, because she caused a tax loss of over $550,000.

                                 Specific Offense Characteristics

      17.      The parties agree to recommend to the sentencing court that a two-level increase

for being in the business of preparing or assisting in the preparation of tax returns, under

Sentencing Guidelines Manual § 2T1.4(b)((1)(B), is applicable to the offense level for the

offense charged in Count One.

                                  Acceptance of Responsibility

      18.      The government agrees to recommend a two-level decrease for acceptance of

responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the
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defendant exhibits conduct consistent with the acceptance of responsibility. In addition, if the

court determines at the time of sentencing that the defendant is entitled to the two-level reduction

under § 3E1.1(a), the government agrees to make a motion recommending an additional one-

level decrease as authorized by Sentencing Guidelines Manual § 3E1.1(b) because the defendant

timely notified authorities of her intention to enter a plea of guilty.

                                  Sentencing Recommendations

      19.      Both parties reserve the right to provide the district court and the probation office

with any and all information which might be pertinent to the sentencing process, including but

not limited to any and all conduct related to the offense as well as any and all matters which

might constitute aggravating or mitigating sentencing factors.

      20.      Both parties reserve the right to make any recommendation regarding any other

matters not specifically addressed by this agreement.

      21.      The government agrees to recommend a sentence at the bottom of the applicable

sentencing guideline range, as determined by the court.

                              Court's Determinations at Sentencing

      22.      The parties acknowledge, understand, and agree that neither the sentencing court

nor the United States Probation Office is a party to or bound by this agreement. The United

States Probation Office will make its own recommendations to the sentencing court. The

sentencing court will make its own determinations regarding any and all issues relating to the

imposition of sentence and may impose any sentence authorized by law up to the maximum

penalties set forth in paragraph 7 above. The parties further understand that the sentencing court

will be guided by the sentencing guidelines but will not be bound by the sentencing guidelines

and may impose a reasonable sentence above or below the calculated guideline range.



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        23.     The parties acknowledge, understand, and agree that the defendant may not move

to withdraw the guilty plea solely as a result of the sentence imposed by the court.

                                     FINANCIAL MATTERS

        24.     The defendant acknowledges and understands that any and all financial

obligations imposed by the sentencing court are due and payable in full upon entry of the

judgment of conviction. The defendant further understands that any payment schedule imposed

by the sentencing court shall be the minimum the defendant is expected to pay and that the

government's collection of any and all court imposed financial obligations is not limited to the

payment schedule. The defendant agrees not to request any delay or stay in payment of any and

all financial obligations. If the defendant is incarcerated, the defendant agrees to participate in

the Bureau of Prisons' Inmate Financial Responsibility Program, regardless of whether the court

specifically directs participation or imposes a schedule of payments.

        25.     The defendant agrees to provide to the Financial Litigation Unit (FLU) of the

United States Attorney's Office, at least 30 days before sentencing, and also upon request of the

FLU during any period of probation or supervised release imposed by the court, a complete and

sworn financial statement on a form provided by FLU and any documentation required by the

form.

                                        Special Assessment

        26.    The defendant agrees to pay the special assessment in the amount of $100.00 prior

to or at the time of sentencing.

                                            Restitution

        27.    The defendant agrees to pay restitution in the amount of $571,800 as ordered by

the court to United States Depai tment of Treasury. The parties understand and agree that the

court order to that effect will be pursuant to 18 U.S.C. § 3662(a)(3). The defendant further
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agrees that the amount of restitution shall be imposed by the court regardless of the defendant's

financial resources. The defendant agrees to cooperate in efforts to collect the restitution

obligation. The defendant understands that imposition or payment of restitution will not restrict

or preclude the filing of any civil suit or administrative action.

                                DEFENDANT'S COOPERATION

      28.        The defendant, by entering into this agreement, further agrees to fully and

completely cooperate with the government in its investigation of this and related matters, and to

testify truthfully and completely before the grand jury and at any subsequent trials or

proceedings, if asked to do so. The government agrees to advise the sentencing judge of the

nature and extent of the defendant's cooperation. The parties acknowledge, understand and agree

that if the defendant provides substantial assistance to the government in the investigation or

prosecution of others, the government, in its discretion, may recommend a downward departure

from: (a) the applicable sentencing guideline range; (b) any applicable statutory mandatory

minimum; or (c) both. The defendant acknowledges and understands that the court will make its

own determination regarding the appropriateness and extent to which such cooperation should

affect the sentence.

                             DEFENDANT'S WAIVER OF RIGHTS

      29.        In entering this agreement, the defendant acknowledges and understands that she

surrenders any claims she may have raised in any pretrial motion, as well as certain rights which

include the following:

            a.      If the defendant persisted in a plea of not guilty to the charges against her, she
                    would be entitled to a speedy and public trial by a court or jury. The defendant
                    has a right to a jury trial. However, in order that the trial be conducted by the
                    judge sitting without a jury, the defendant, the government and the judge all
                    must agree that the trial be conducted by the judge without a jury.



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             b.      If the trial is a jury trial, the jury would be composed of twelve citizens
                     selected at random. The defendant and her attorney would have a say in who
                     the jurors would be by removing prospective jurors for cause where actual
                     bias or other disqualification is shown, or without cause by exercising
                     peremptory challenges. The jury would have to agree unanimously before it
                     could return a verdict of guilty. The court would instruct the jury that the
                     defendant is presumed innocent until such time, if ever, as the government
                     establishes guilt by competent evidence to the satisfaction of the jury beyond a
                     reasonable doubt.

             c.      If the trial is held by the judge without a jury, the judge would find the facts
                     and determine, after hearing all of the evidence, whether or not he was
                     persuaded of defendant's guilt beyond a reasonable doubt.

             d.      At such trial, whether by a judge or a jury, the government would be required
                     to present witnesses and other evidence against the defendant. The defendant
                     would be able to confront witnesses upon whose testimony the government is
                     relying to obtain a conviction and she would have the right to cross-examine
                     those witnesses. In turn the defendant could, but is not obligated to, present
                     witnesses and other evidence on her own behalf. The defendant would be
                     entitled to compulsory process to call witnesses.

             e.      At such trial, defendant would have a privilege against self-incrimination so
                     that she could decline to testify and no inference of guilt could be drawn from
                     her refusal to testify. If defendant desired to do so, she could testify on her
                     own behalf.

      30.         The defendant acknowledges and understands that by pleading guilty she is

waiving all the rights set forth above. The defendant further acknowledges the fact that her

attorney has explained these rights to her and the consequences of her waiver of these rights. The

defendant further acknowledges that as a part of the guilty plea hearing, the court may question

the defendant under oath, on the record, and in the presence of counsel about the offense to

which the defendant intends to plead guilty. The defendant further understands that the

defendant's answers may later be used against the defendant in a prosecution for perjury or false

statement.

      31.         The defendant acknowledges and understands that she will be adjudicated guilty

of the offense to which she will plead guilty and thereby may be deprived of certain rights,

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including but not limited to the rigjht to vote, to hold public office, to serve on a jury, to possess

firearms, and to be employed by a federally insured fmancial institution.

      32.       The defendant knowingly and voluntarily waives all claims she may have based

upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth

Amendment. The defendant agrees that any delay between the filing of this agreement and the

entry of the defendant's guilty plea pursuant to this agreement constitutes excludable time under

the Speedy Trial Act.

                             Further Civil or Administrative Action

      33.       The defendant acknowledges, understands, and agrees that the defendant has

discussed with her attorney and understands that nothing contained in this agreement, including

any attachment, is meant to limit the rights and authority of the United States of America or any

other state or local government to take further civil, administrative, or regulatory action against

the defendant, including but not limited to any listing and debarment proceedings to restrict

rights and opportunities of the defendant to contract with or receive assistance, loans, and

benefits from United States government agencies.

                                      GENERAL MATTERS

      34.      The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction

motion or appeal.

      35.      The parties acknowledge, understand, and agree that this plea agreement will be

filed and become part of the public record in this case.

      36.      The parties acknowledge, understand, and agree that the United States Attorney's

office is free to notify any local, state, or federal agency of the defendant's conviction.



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      37.      The defendant understands that pursuant to the Victim and Witness Protection

Act, the Justice for All Act, and regulations promulgated thereto by the Attorney General of the

United States, the victim of a crime may make a statement describing the impact of the offense

on the victim and further may make a recommendation regarding the sentence to be imposed.

The defendant acknowledges and understands that comments and recommendations by a victim

may be different from those of the parties to this agreement.

                          Further Action by Internal Revenue Service

      38.      Nothing in this agreement shall be construed so as to limit the Internal Revenue

Service in discharging its responsibilities in connection with the collection of any additional tax,

interest, and penalties due from the defendant as a result of the defendant's conduct giving rise to

the charges alleged in the information.

             EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT

      39.      The defendant acknowledges and understands if she violates any term of this

agreement at any time, engages in any further criminal activity prior to sentencing, or fails to

appear for sentencing, this agreement shall become null and void at the discretion of the

government. The defendant further acknowledges and understands that the government's

agreement to dismiss any charge is conditional upon final resolution of this matter. If this plea

agreement is revoked or if the defendant's conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and all

charges which were not filed because of this agreement. The defendant hereby knowingly and

voluntarily waives any defense based on the applicable statute of limitations for any charges filed

against the defendant as a result of her breach of this agreement. The defendant understands,

however, that the government may elect to proceed with the guilty plea and sentencing. If the

defendant and her attorney have signed a proffer letter in connection with this case, then the
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defendant further acknowledges and understands that she continues to be subject to the terms of

the proffer letter.

                       VOLUNTARINESS OF DEFENDANT'S PLEA

      40.       The defendant acknowledges, understands, and agrees that she will plead guilty

freely and voluntarily because she is in fact guilty. The defendant further acknowledges and

agrees that no threats, promises, representations, or other inducements have been made, nor

agreements reached, other than those set forth in this agreement, to induce the defendant to plead

guilty.




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                                    ACKNOWLEDGMENTS

I am the defendant. I am entering into this plea agreement freely and voluntarily. I am not now
on or under the influence of any drug, medication, alcohol, or other intoxicant or depressant,
whether or not prescribed by a physician, which would impair my ability to understand the terms
and conditions of this agreement. My attorney has reviewed every part of this agreement with me
and has advised me of the implications of the sentencing guidelines. I have discussed all aspects
of this case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.



Date: i a   Q5 zolP
                                             Defendant


I am the defendant's attorney. I carefully have reviewed every part of this agreement with the
defendant. To my knowledge, my client's decision to enter into this agreement is an informed
and voluntary one.



Date: llAt11.1-te% cti

                                             Attorney for Defendant


For the United States of America:



Date:    12,//5Aig                           MATTHEW 6 KRUEGER
                                             United States Attorney



Date:    /zit 30
                                            Assistant United States Attorney




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